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                           EXHIBIT A
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                                                                                                                                         ________________________County
                                                           INITIATIVE PETITION
To the Honorable Deidre M. Henderson, Lieutenant Governor:

We, the undersigned citizens of Utah, respectfully demand that the following proposed law entitled “Restoring the Utah State Flag” be submitted to the legal voters of Utah for
their approval or rejection at the regular general election to be held on November 5, 2024. Each signer says: I have personally signed this petition; The date next to my signature
correctly reflects the date that I actually signed the petition; I have personally reviewed the entire statement included with this packet; I am registered to vote in Utah; and My
residence and post office address are written correctly after my name.

         NOTICE TO SIGNERS:

         Public hearings to discuss this initiative were held at:

    o    Bear River Region – 26 East Forest Street, Brigham City, UT 84302, June 6 at 7:00 p.m.

    o    Southwest Region – 88 West 100 South, St. George, UT 84770, June 5 at 5:30 p.m.

    o    Mountain Region – 64 South 100 East, American Fork, UT 84003, June 6 at 7:00 p.m.

    o    Central Region – 15 East 85 South, Fairview, UT 84629, June 6 at 6:30 p.m.

    o    Southeast Region – 115 South Main Street, Orangeville, UT 84537, June 6 at 4:30 p.m.

    o    Uintah Basin Region – 204 East 100 North, Vernal, UT 84078, June 6 at 7:00 p.m.

    o    Wasatch Front Region – 4740 West 4100 South, West Valley City, UT 84120, June 6 at 7:00 p.m.




I, Deidre M. Henderson, Lieutenant Governor of the State of Utah, hereby certify that the initiative entitled “Restoring the Utah State Flag” contained in this petition section is
a full, true and correct copy of that initiative as proposed by the sponsors for referral to the people of the State of Utah for their approval as law, or rejection.

6/12/23, Monday



___________________________
Deidre M. Henderson
Lieutenant Governor
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 1
 2
 3                                 RESTORING THE UTAH STATE FLAG
 4
 5
 6
 7
 8                                                  STATE OF UTAH
 9
10
11                              Sponsor: Each sponsor is a resident of Utah.
12
13
14   LONG TITLE
15   General Description:
16       This bill repeals S.B. 31, Laws of Utah 2023, Chapter 451 restoring the state flag of Utah and directs
17   the lieutenant governor to submit all proposed modifications and expenditures of the state flag to the
18   voters of the state.
19   Highlighted Provisions:
20       This bill:
21          repeals S.B. 31, Laws of Utah 2023, Chapter 451
22          provides for one Utah flag;
23          provides all proposed adoptions of a new state flag be submitted to the voters of the state;
24          provides modifications and expenditures of the state flag to be submitted to the voters;
25          depicts the flag in images.
26   Money Appropriated in this Bill:
27       None
28   Other Special Clauses:
29   This bill provides a special effective date.
30   Utah Code Sections Affected:
31   REPEALS:
32       S.B. 31, Laws of Utah 2023, Chapter 451
33       63G-1-503, Utah Code Annotated 1953
34   REPEALS AND REENACTS:
35       63G-1-501, as last amended by Laws of Utah 2023, Chapter 451
36   ENACTS:
37       63G-1-502, Utah Code Annotated 1953




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38
39   Be it enacted by the Voters of the state of Utah:
40   Section 1. Section 63G-1-501 is repealed and reenacted to read:
41
42                                                  Part 5. State Flag
43
44        63G-1-501. State flag -- Description -- Image -- Display.
45        (1) The state flag shall be a flag of blue field, with the following device worked in natural colors on the
46   center of the blue field:
47        (a) in the center a shield;
48        (b) above the shield and thereon an American eagle with outstretched wings;
49        (c) the top of the shield pierced with six arrows arranged crosswise;
50        (d) upon the shield under the arrows the word "Industry," and below the word "Industry" on the center
51   of the shield, a beehive;
52        (e) on each side of the beehive, growing sego lilies;
53        (f) below the beehive and near the bottom of the shield, the word "Utah";
54        (g) below the word "Utah" and on the bottom of the shield, the figures "1847";
55        (h) behind the shield, there shall be two American flags on flagstaffs placed crosswise with the flags
56   so draped to project beyond each side of the shield, the heads of the flagstaffs appearing in front of the
57   eagle's wings and the bottom of each staff appearing over the face of the draped flag below the shield;
58        (i) below the shield and flags and upon the blue field, the figures "1896"; and
59        (j) around the entire design, a narrow circle in gold.
60   (2) The state flag shall appear consistent with the following image:




     61




61



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62   Section 2. Section 63G-1-502 is enacted to read:
63         63G-1-502. State flag – Changes.
64       (1) The lieutenant governor shall submit all proposed adoptions of a new state flag to the voters of the
65   state at the next regular general election in the manner provided by law.
66       (2) The lieutenant governor shall submit all proposed expenditures to modify the state flag, including
67   but not limited to creating commissions to consider a new state flag, to the voters of the state at the next
68   regular general election in the manner provided by law.
69       63G-1-503. Severability clause.
70       If any provision of 2024 General Election Restoring the Utah State Flag or application of any provision
71   of 2024 General Election Restoring the Utah State Flag to any person or circumstance is held invalid by a
72   final decision of a court of competent jurisdiction, the remainder of 2024 General Election Restoring the
73   Utah State Flag are severable.
74       Section 3. Effective date.
75       This bill has a retroactive effect of March 22, 2023.




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                                                                                           Restoring the Utah State Flag
                                For
                               Office            Registered Voter’s Printed Name
                              Use Only            (must be legible to be counted)                            Signature of Registered Voter                                        Date Signed




                                                                                                         Email Address (optional, to receive
                                                   Street Address, City, Zip Code                             additional information)                                   Birth Date or Age (Optional)




                                      By signing this petition, you are stating that you have read and understand the law proposed by this petition
                                For
                               Office            Registered Voter’s Printed Name
                              Use Only            (must be legible to be counted)                            Signature of Registered Voter                                        Date Signed




                                                                                                         Email Address (optional, to receive
                                                   Street Address, City, Zip Code                             additional information)                                   Birth Date or Age (Optional)




                                      By signing this petition, you are stating that you have read and understand the law proposed by this petition

                                                                             Fiscal Impact of Restoring the Utah State Flag
           The Office of the Legislative Fiscal Analyst estimates that the law proposed by this initiative could result in the Lieutenant Governor's Office
           avoiding a one-time cost of approximately $3,000 to adopt rules establishing standards and specifications for a new state flag. State agencies
           and local governments could avoid the cost of purchasing new state flags. Should any adoptions of a new state flag be proposed in the future,
           the Lieutenant Governor's Office could incur costs of $8,600 per occurrence to post the proposed changes, including all proposed expenditures,
           in newspapers for voter information.


WARNING: It is a class A misdemeanor for an individual to sign an initiative petition with a name other than the individual's own name, or to knowingly sign the individual's name more than once for the same measure,
                                                               or to sign an initiative petition when the individual knows that the individual is not a registered voter.
 Birth date or age information is not required, but it may be used to verify your identity with voter registration records. If you choose not to provide it, your signature may not be verified as a valid signature if you change your
                                                   address before petition signatures are verified or if the information you provide does not match your voter registration records.


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                                                       Verification of Signature Collector



                                                  State of Utah, County of ___________________________
                                                                                       (County Where Signatures Were Collected)


I, _________________________________________, of _______________________ County, hereby state, under penalty of perjury, that:
                  (Printed Name)                          (County Where Collector Resides)


                I am a resident of Utah and am at least 18 years old;
                All the names that appear in this initiative packet were signed by individuals who professed to be the individuals whose names
                 appear in it, and each of the individuals signed the individual's name on it in my presence;
                I did not knowingly make a misrepresentation of fact concerning the law proposed by the initiative;
                I believe that each individual has printed and signed the individual's name and written the individual's post office address and
                 residence correctly, that each signer has read and understands the law proposed by the initiative, and that each signer is
                 registered to vote in Utah
                Each individual who signed the packet wrote the correct date of signature next to the individual's name.
                I have not paid or given anything of value to any individual who signed this initiative packet to encourage that individual to
                 sign it




   ______________________________________________               ______________________________________________                    _____________________
                     (Signature)                                               (Residence Address)                                        (Date)




                                                                       Exhibit A
